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                        EXHIBIT X
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           Attorneys for Sheriff, Police Chief, and
            Chief Probation Intervenor-Defendants
       9
  10                               IN THE UNITED STATES DISTRICT COURTS
  11                             FOR THE EASTERN DISTRICT OF CALIFORNIA
  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA
  13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  14                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
  15
           RALPH        COLEMAN, et al.,                      Case No:    CIVS-90-0520 LKK JFM P
  16
                           -Plaintiffs,                       THREE-JUDGE COURT
  17
                   VS.
  18
           ARNOLD        SCHWARZENEGGER, et
  19       alo•
 20                         Defendants..
 21
                                                              [F.R,C.P. 24; 18 U.S.C; .§ 3626(a)(3)(F)]
 22
                                                              CaseNo.: C01-1351 TEH
 23        MARCIANO PLATA, et all;
                                                             THREE'JUDGE COURT
 24                         Plaintiffs,
                                                             INTERVENOR-DEFENDANT FRESNO
 .25              VS.                                        COUNTY SHERIFF'S RESPONSES TO
                                                             PLAINTIFFS' FIRST SET OF
 26        ARNOLD        SCHWARZENEGGER, et                  INTERROGATORIES
           al.,
 27
                            Defendants.
28
                                                             -1-
             INTERVENOR-DEFENDANT FRESNO COUNTY SHERJFF}S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           2.    RESPONDING PARTY:                      Intervenor-Defendant, FRESNO COUNTY SHERIFF

           4               TO .ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
           5               Pursuant to Federal Rules of Civil Procedure Rule 33,Intervenor-Defendant
           6     Fresno County Sheriff separately, and fully responds to Plaintiffs' •First Set of
           7     Interrogatories as follows:
        8                              Preliminary Statementand General Obieetions
       9                   1.    Intervenor-Defendant has not completed investigation of the facts relating
      10         to this case, has not completed discovery in this action and has not completed preparation
      11         for trial. Therefore, these responses, while based on diligent factual exploration, reflect
   12            only Intervenor-Det•ndant's .current state of loaowledge, understanding, and •belief with
  13            regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  14            the right to supplement these responses with subsequently obtained or discovered
  15            information. With •regard to each interrogat0ry,In•erve•or:Defendant reserves the right,
  16            notwithstanding these answers and responses,, tO employ at-trial or in any pretrial
  1.7           proceeding herein in•formation subsequently obtained or discovered, information the
  18            materiality of which is not presently ascertained, or information Intervenor-Defendant
 19             does not regard as coming within the scope of the interrogatories as Intervenor-Defendanl
 20             understands them.
 21                    2.     These responses are made solely for the purpose of this action. Each
 22             answer is subject to all objections as to competence, relevance, materiality, propriety,
 23             admissibility, privacy, privilege, and any and all other objections that would require
 24             exclusion of any statement contained herein if any such interrogatories were asked of,
                                                                                                       or
 25             any statement contained herein     if•any such interrogatories were asked of, or any
 26             statement contained herein were made by, a witness present and testifying in court, all of
 27             which objections and grounds are reserved and may be interposed at the time of trial.
 28                   3.        Except for explicit facts admitted herein, no incidental or implied
                 INTERVENOR-DEFENDAN T FRESNO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OFINTERROGATORIES
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        admissions are intended hereby. Intervenor-Defendant's answers or objections to any
       interrogatory are not an admission of any fact set forth or assumed by that inten'ogatory.
       In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
       interrogatory is not a waiver of part or all of any objection he might make to tha•
       interrogatory, or an admissionthat such answer or objection constitutes admissible
     6 evidence• Intervenor-Defendant asserts these objections without waiving or intending to
    7 waive any objections as to competency, relevancy, materiality 0r privilege.
     8         4.     To the extent Intervenor-Defendant responds to these interrogatories, the
    9 .responses .will not include information protected by the right of privacy. All obj ecti0ns
  10 on the grounds.of.constitutional and Common law privacy rights are expressly preserved.
  11           5•      Interven0r-Defendant objects to each and every Interrogatory to the extent
  12 that Plaintiffs are requesting information that is neither relevant to the subject matter of
  13 this action nor reasonably calculated to lead to the discovery of admissible evidence.
  14          6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
  15 are vague and ambiguous and do not include adequate definition, specificity, or limiting
  16   factors.
  17              7.   Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
  18   the term "PERSON." The definition is Vague, ambiguous, and overbroad a's used in thesi
  19   Interrogatories.
 2O            Subject to and without waiving 'the foregoing objections, and incorporating them
 21    by reference into each of the responses provided below, Intervenor-Defendant hereby
 22    responds as follows:
 23    INTERROGATORY NO. 1:
 24           From January 1, 1995 until the present, have any limit(s)been in place, as the
 25    result of any lawsuit, on the number of people that can be housed in any jail            operated
 26    and/or maintained by YOU? If so:
 27                   (a)     State the name, date and case number of every case which resulted
 28    any such limit(s )
                                                         -3-
        INTERVENOR..DP_TISNDANT FRESNO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                RESPONSE TO INTERROGATORY NO. 1"
           2             In addition to the General Objections stated above' Intervenor-Defendant objects
           3    to this interrogatory   on   the grounds that it is   vague, ambiguous and overbroad; to the
           4    extent that it seeks information not relevant to this litigation nor reasonably calculated to
       5        lead to the discovery of admissible evidence.
       6                 Without waiving and subject to the objections, Intervenor-Defendant responds that
       7        from January 1, 1995 until present, limits have been in place on the number of people thai
       8        can   be housed in any jail operated and/or maintained by Intervenor-Defendant as a result
       9        of John B. Cruz v. Coun _ty of Fresno, Case No. F93-5070 adjudicated in 1994.
      10        INTERROGATORYNO' 2:
  11        In any instance, from January 1, 1995 until the present, in which any limit(s) have
  12 been in place on the number of people that can be housed in.any jail operated and/or
  13 maintained by YOU, what mechanisms were used to comply with.those limits?
  i4               (a) Identify all DOCUMENTS which relate to YOUR answer.
  15               (b) Identify all PERSONS whom YOU believe or suspect have
  16           information to support YOUR answer.
  17           RESPONSE TO INTERROGATORY NO. 2:
  18                     In addition to the General Objections stated above Intervenor-Defendant objects
  19           to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 2O             extent that it seeks information not relevant to this litigation nor reasonably calculated to
 21            lead to the discovery of admissible evidence.
 22                   Without..waiving and subject to the objections, Intervenor2Defendant responds that
 23            from January !, 1995 until present, housing limits have been in place
                                                                                          as agreed upon in
 24            the Consent Decree as a result of.John B. Cruz v. County 0fFresno, Case No. F93-5070
 25            adjudicated in 1994.
 26                   (a) Fresno County Policies and Procedures." Criteria for Inmate Release•from
 27            Custody Pursuant to Federal Court Order.
 28                   (b) Assistant Sheriff Tom Gattie.

                INTERVENOR-DEFENDANT FRESNO COUNTY SHERIFF'S RESPONSESTO PLAINTIFFS' FIRST SET OF
                                                                                                    INTERROGATORIES
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                 /
           2     INTERROGATORY NO. 3:
           3               From January    1, 1995 until present, how many people have had their releases from
           4     any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
           5     on    the number of people that can be housed in that jail?
           6                      (a)     Identify all DOCUMENTS which relate to YOUR answer.
           7                      (b)     Identify all PERSONS whom YOU believe or suspect have
           8    information to support YOUR           answer.

       9        RESPONSE TO INTERROGATORY NO. 3:
      10                  In addition to the General Objections stated above, Intervenor-Defendant objects
      11        to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
      12        extent that it seeks information not relevant to this litigation nor reasonably calculated to

  13            lead to the discovery of admissible evidence.
  14                    Without waiving and subject to the objections, Intervenor-Defendant responds that
  15            from January 1, 1995 until present, 26,210 inmates have been released due to
  16            overcrowding.
  17                   (a) Computer printout summarizing the number of releases per year.
  18                   (b) Assistan• Sheriff Yom Gattie.
  19           INTERROGATORY NO. 4:
 20                   What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, fror•
 21            January 1, 1995 until present, in any county in which YOU operate and/or maintain                       a
 22            jail?
 23                             (a).    For each such program, describe the mission and/or purpose of the
 24            placement program.
 25                         (b) For each such program, identify what criteria are used to decide who
 26            may enter the program.
 27                             (c)     Identify all DOCUMENTS which relate to YOUR answer.
 28                             (d)     Identify all PERSONS whom YOU believe or suspect have
                                                                    -5"
                 INTERVENOR-DI:xlq•NDANT FRESNO COUNTY SHERIFF'S RESPONSES 2['0 PLAINTIFFS' FIRST SET
                                                                                                        OF INTERROGATORIES
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                information to support YOUR answer.
      2         RESPONSE TO INTERROGATORY NO. 4:
      3                    In addition to the General   Objections stated above, Intervenor-Defendant objects
      4        to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
      5        extent that it seeks information not relevant to this litigati(•n nor reasonably calculated to
      6        lead to the discovery of admissible evidence.
      7                Without waiving and subject to the objections, Intervenor-Defendant responds that
      8        from January 1, 1995 until present, the county has utilized the Adult Offender Work
      9Program.
    10         (a) The Adult Offender Work Program places defendants who are sentenced to
    11 90 days in jail or less on work assignments with participating community and
    12 governmental agencies in lieu of jail confinement.
   13          (b) Officers are responsible for the evaluation of offenders to determine their
          [
   14 suitability for this program, supervising offenders with respect to compliance with
   15 program rules and regulations, and the forwarding of comnlitment orders to the County
   16 Jail when offenders do not comply.
   17         (c) Fresno County Probation website.
  18          (d) Fresno County Probation.
  19          Without waiving and subject to the objections, Intervenor-Defendant responds thal
  20 from January 1, 1995 until present, the county has utilized Work Furlough/Electronic
 21           Monitoring°
 22                      (a)     The Work Furlough/Electronic Monitoring Program is
                                                                                             an    alternative to
 23           serving time in the County Jail for those persons who are sentenced to more than 30 days
 24           in custody and have been referred to the program by
                                                                   any of the local courts.
 25                  (b) The members of the unit determine the eligibility and suitability of those
 26           persons referred to Work Furlough/Electronic Monitoring Unit. They then establish the
 27                            and limitations to which the person must adhere in order to be in compliance
 28           with the program, and refer acceptable persons to            outside agency for the actual
                                                                      an


               INTERvKNOR-DEFENDANT FRESNO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET
                                                                                                  OF   INTERROGATORIES
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           1   installation and monitoring of the electronic monitoring equipment,
       2              (c)      Fresno County Probation website.
       3              (d)     Fresno County Probation.
       4       DATED:       April 11, 2008                     Respectfully sub.miRed,
                                                               JONES & MAYER
       5
       6
       7
                                                               By:
       8
                                                                       Defendants
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               IN'I•SRVENOR.Dbi•ENDANT FRESNO. COUNTY SHERIFF'S RESPONSE   TO PLAINTIFFS'-FIRST SET OF INTERROGATORIES
